                                                                               027,21*5$17('
                                                                               ([WHQVLRQJUDQWHGWR
                                                                               -DQXDU\
                            UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

UNITED STATES OF AMERICA                       )
                                               )
                                               )
       v.                                     )        No. 3:12-CR-00219(5)
                                              )
                                               )
COREY LEE SMITH                                )

                             MOTION FOR EXTENSION OF TIME

       COMES NOW the Defendant, Corey Lee Smith, by and through undersigned counsel, and

respectfully moves this Court for an extension of time in which to file the Defendant’s Speedy

Trial Waiver.

        As grounds for same, it is submitted to the Court that counsel has been unable to meet with

the Defendant following her surgery on January 9, 2014. Counsel has forwarded the waiver to the

Defendant and shall file same immediately upon receipt.

       Dated this the 22rd day of January, 2014.

                                              By: /s/ Stephanie D. Ritchie
                                              Stephanie D. Ritchie #024883
                                              Attorney for Defendant
                                              136 Franklin Street, Suite 200
                                              Clarksville, TN 37040
                                              (931) 648-9400

                                   CERTIFICATE OF SERVICE
         I hereby certify that on the 22rd day of January, 2014, I electronically filed the foregoing
with the clerk of the court by using the CM/ECF system which will send a notice of electronic
filing to the following: Brent Adams Hannafan, Assistant US Attorney.

                                              /s/ Stephanie D. Ritchie
                                              Stephanie D. Ritchie




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